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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 2:22-cv-14102-DMM

   DONALD J. TRUMP,

           Plaintiff

   v.

   HILLARY R. CLINTON, et al.,

           Defendants.

   ______________________________________/

        [PROPOSED] ORDER GRANTING UNITED STATES’ MOTION TO SUBSTITUTE
                                AND DISMISS

           Before the Court is the United States’ motion to substitute itself as defendant for James

   Comey, Andrew McCabe, Peter Strzok, Lisa Page, and Kevin Clinesmith, and to dismiss. Upon

   review of the same, and for good cause shown, the motion is GRANTED.

           It is ORDERED that:

           1.      The United States is substituted as defendant for James Comey, Andrew McCabe,

   Peter Strzok, Lisa Page, and Kevin Clinesmith; and

           2.      The United States is dismissed for lack of subject matter jurisdiction.

           IT IS SO ORDERED.



   Dated: ___________________________                    ____________________________________
                                                         Donald M. Middlebrooks
                                                         United States District Judge
